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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                            Chapter 11

BOY SCOUTS OF AMERICA AND                         Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                  (Jointly Administered)
Debtors.
                                                  Hearing Date: April 15, 2021 at 10:00 a.m. (ET)
                                                  Objection Deadline: April 2, 2021 at 4:00 p.m. (ET)

        DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) APPROVING THE
      DISCLOSURE STATEMENT AND THE FORM AND MANNER OF NOTICE,
        (II) APPROVING PLAN SOLICITATION AND VOTING PROCEDURES,
 (III) APPROVING FORMS OF BALLOTS, (IV) APPROVING FORM, MANNER, AND
SCOPE OF CONFIRMATION NOTICES, (V) ESTABLISHING CERTAIN DEADLINES
   IN CONNECTION WITH APPROVAL OF THE DISCLOSURE STATEMENT AND
      CONFIRMATION OF THE PLAN, AND (VI) GRANTING RELATED RELIEF

         The Boy Scouts of America (the “BSA”) and Delaware BSA, LLC, the non-profit

corporations that are debtors and debtors in possession in the above-captioned chapter 11 cases

(together, the “Debtors”), submit this motion (this “Motion”), for entry of an order, substantially

in the form attached hereto as Exhibit A (the “Solicitation Procedures Order”), pursuant to

sections 105(a), 502, 1125, 1126, and 1128 of title 11 of the United States Code, 11 U.S.C.

§§ 101–1532 (the “Bankruptcy Code”), rules 2002, 3003, 3016, 3017, 3018, 3020, 9006, and

9008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002,

3017-1, and 9006-1 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), granting the following

relief and such other relief as is just and proper:

               Disclosure Statement. Approving the disclosure statement (together with all
                schedules and exhibits thereto, and as may be modified, amended, or

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    The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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                supplemented from time to time, the “Disclosure Statement”) for the Amended
                Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware
                BSA, LLC (together with all schedules and exhibits thereto, and as may be
                modified, amended, or supplemented from time to time, the “Plan”);2

               Disclosure Statement Hearing Notice. Approving the form and manner of notice
                of the hearing to consider approval of the Disclosure Statement (the “Disclosure
                Statement Hearing” and the “Form of Disclosure Statement Hearing Notice”),
                substantially in the form attached hereto as Exhibit B;

               Solicitation Procedures. Establishing procedures for the solicitation and
                tabulation of votes on the Plan (the “Solicitation Procedures”), substantially in the
                form attached to the Solicitation Procedures Order as Exhibit 1, including finding
                that the Solicitation Packages (as defined below) that will be sent to holders of
                Claims entitled to vote on the Plan comply with Bankruptcy Rules 3017(d) and
                2002(b);

               Cover Letter.           Approving the form of a cover letter (the
                “Cover Letter”) describing the contents of the Solicitation Package and
                instructions to obtain access, free of charge, to the Plan, the Disclosure Statement,
                and the Solicitation Procedures Order via https://omniagentsolutions.com/bsa-
                SAballots (Direct Abuse Claims) or https://omniagentsolutions.com/bsa-ballots
                (all other Claims) and urging holders of Claims in the Voting Classes to vote to
                accept the Plan, substantially in the form attached to the Solicitation Procedures
                Order as Exhibit 7;

               Abuse Claim Solicitation Notice and Abuse Survivor Plan Solicitation
                Directive. Approving the form and manner of (a) the notice to attorneys
                representing holders of Direct Abuse Claims of the process for voting to accept or
                reject the Plan on behalf of such holders (the “Abuse Claim Solicitation Notice”),
                and (b) the certified plan solicitation directive to be used by such attorneys to
                indicate how such holders’ votes should be solicited (the “Abuse Survivor Plan
                Solicitation Directive”), substantially in the forms attached hereto as Exhibit C;

               Ballots. Approving the form of ballot for Claims in Classes 3A, 3B, 4A, 4B, 5, 6,
                7, 8, and 9 (the “Ballots”), substantially in the forms attached to the Solicitation
                Procedures Order as Exhibits 2-1 to 2-7;

               Confirmation Hearing Notices. Approving the form, manner, and scope of
                (a) notice of the hearing to consider confirmation of the Plan (the “Confirmation
                Hearing Notice” and the “Confirmation Hearing,” respectively), substantially in
                the form attached to the Solicitation Procedures Order as Exhibit 3,
                (b) newspaper publication notice of the Confirmation Hearing (the “Publication
                Notice”), substantially in the form attached to the Solicitation Procedures Order as

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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
    Disclosure Statement or the Plan, as applicable.

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                 Exhibit 4, (c) notice to applicable holders of Claims that are unclassified under
                 the Plan or that are Unimpaired and conclusively presumed to accept the Plan
                 pursuant to section 1126(f) of the Bankruptcy Code (the “Non-Voting Status
                 Notice”), substantially in the form attached to the Solicitation Procedures Order as
                 Exhibit 5, (d) notice to holders of Claims that are subject to a pending objection
                 by the Debtors and who are not entitled to vote the disputed portion of such Claim
                 (the “Disputed Claim Notice”), substantially in the form attached to the
                 Solicitation Procedures Order as Exhibit 6, (e) notice of the Debtors’ plan
                 supplement (the “Plan Supplement Notice”), substantially in the form attached to
                 the Solicitation Procedures Order as Exhibit 8, (f) notice to the Debtors’ affected
                 counterparties listed on the Assumed Contracts and Unexpired Leases Schedule,
                 substantially in the form attached to the Solicitation Procedures Order as Exhibit
                 9 (the “Cure and Assumption Notice”), and (g) notice to the Debtors’ affected
                 counterparties listed on the Rejected Contracts and Unexpired Leases Schedule,
                 substantially in the form attached to the Solicitation Procedures Order as Exhibit
                 10 (the “Rejection Notice” and, together with the Confirmation Hearing Notice,
                 the Publication Notice, the Non-Voting Status Notice, the Disputed Claim Notice,
                 the Plan Supplement Notice, the Cure and Assumption Notice, and the Rejection
                 Notice, the “Confirmation Notices”); and

                Disclosure Statement and Confirmation Timeline. Establishing the following
                 dates and deadlines in connection with the foregoing, subject to modification as
                 necessary:3

                 a.       Disclosure Statement and Solicitation Procedures Objection Deadline.
                          April 2, 2021 at 4:00 p.m. (Eastern Time) as the date by which
                          objections to the Disclosure Statement and Solicitation Procedures must
                          be filed;

                 b.       Abuse Survivor Plan Solicitation Directive Deadline. March 31, 2021 as
                          the date by which each Firm (as defined below) must return a completed
                          Abuse Survivor Plan Solicitation Directive (the “Abuse Survivor Plan
                          Solicitation Directive Deadline”) so that it is actually received by Omni
                          Agent Solutions (the Solicitation Agent”);

                 c.       Disclosure Statement Hearing. April 15, 2021 at 10:00 a.m. (Eastern
                          Time) as the date and time for the hearing at which the Court will consider
                          the adequacy of the Disclosure Statement and approval of the Solicitation
                          Procedures;

                 d.       Voting Record Date. April 15, 2021 as the record date for purposes of
                          determining which holders of Claims are entitled to vote on the Plan (the
                          “Voting Record Date”);



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    Unless otherwise stated, all times referenced in this Motion refer to Eastern Time. Certain of the proposed dates
    may be subject to the Court’s availability.

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               e.     Solicitation Date. April 29, 2021 as the deadline for distributing
                      Solicitation Packages (as defined below) or as soon as reasonably
                      practicable thereafter, to the holders of Claims entitled to vote to accept or
                      reject the Plan (the “Solicitation Date”);

               f.     Publication Deadline. May 28, 2021 as the last date by which the
                      Debtors will submit the Publication Notice containing information from
                      the Confirmation Hearing Notice in a format modified for publication (the
                      “Publication Deadline”);

               g.     Plan Supplement Deadline. June 14, 2021 as the date by which the
                      Debtors must file the Plan Supplement in accordance with the terms of the
                      Plan (the “Plan Supplement Deadline”);

               h.     Voting Resolution Event Deadline. June 21, 2021 as the date by which
                      the Court must enter an order temporarily allowing a Disputed Claim
                      contested by such holder pursuant to a timely Rule 3018(a) Motion (as
                      defined below), in order for such holder’s Ballot to be counted (the
                      “Voting Resolution Event Deadline”);

               i.     Voting Deadline. June 28, 2021 at 4:00 p.m. (Eastern Time) as the
                      deadline by which all Ballots must be properly executed, completed, and
                      delivered so that they are actually received (the “Voting Deadline”) by the
                      Solicitation Agent;

               j.     Plan Objection Deadline. June 28, 2021 at 4:00 p.m. (Eastern Time) as
                      the deadline by which objections to the Plan must be filed with the Court
                      and served so as to be actually received by the appropriate notice parties
                      (the “Plan Objection Deadline”);

               k.     Voting Report Deadline. July 12, 2021 as the date by which the report
                      tabulating the voting on the Plan (the “Voting Report”) shall be filed with
                      the Court;

               l.     Deadline to File Confirmation Briefs and Replies. July 12, 2021 as the
                      date by which the Debtors and any other parties in interest shall file their
                      briefs and/or responses to Plan Objections in support of confirmation of
                      the Plan; and

               m.     Confirmation Hearing. July 26, 2021 at 10:00 a.m. (Eastern Time) as
                      the date and time for the hearing at which the Court will consider
                      confirmation of the Plan (the “Confirmation Hearing”).

       1.      In connection with the relief requested in this Motion, the Debtors have attached

the following Exhibits hereto:




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            Exhibit A         Proposed Solicitation Procedures Order

            Exhibit B         Form of Disclosure Statement Hearing Notice

            Exhibit C         Form of Abuse Claim Solicitation Notice and Abuse
                              Survivor Plan Solicitation Directive

                                JURISDICTION AND VENUE

       2.      The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. This is a core proceeding within the meaning of

28 U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f),

to the entry of a final order or judgment by the Court in connection with this Motion if it is

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution. Venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory and other bases for the relief requested in this Motion are sections

105(a), 502, 1125, 1126, and 1128 of the Bankruptcy Code, Bankruptcy Rules 2002, 3003, 3016,

3017, 3018, 3020, 9006, and 9008, and Local Rules 2002, 3017-1, and 9006-1.

                                        BACKGROUND

       4.      The Debtors commenced these cases on February 18, 2020 (the “Petition Date”),

and they continue to operate their non-profit organization and manage their properties as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. These chapter 11

cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

1015(b) and Local Rule 1015-1. Information regarding the Debtors’ non-profit operations,

capital structure and the circumstances preceding the Petition Date may be found in the




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Declaration of Brian Whittman in Support of the Debtors’ Chapter 11 Petitions and First Day

Pleadings [D.I. 16] and the Debtors’ Informational Brief [D.I. 4].

       5.      On March 5, 2020, the United States Trustee for the District of Delaware (the

“U.S. Trustee”) appointed an official committee of tort claimants (the “Tort Claimants’

Committee”) and an official committee of unsecured creditors (the “Creditors’ Committee”)

pursuant to section 1102 of the Bankruptcy Code.

       6.      On April 8, 2020, the Debtors filed their schedules of assets and liabilities,

schedules of executory contracts and unexpired leases, and statements of financial affairs [D.I.

375, 376, 377 and 378] (collectively and as may be modified, amended, or supplemented from

time to time, the “Schedules”).

       7.      On April 24, 2020, the Court appointed James L. Patton, Jr. (the “Future

Claimants’ Representative”) as the representative of future abuse claimants pursuant to sections

105(a) and 1109(b) of the Bankruptcy Code.

       8.      On May 26, 2020, the Court entered an order [D.I. 695] (the “Bar Date Order”)

establishing certain deadlines and procedures associated with the filing of Proofs of Claim in the

Chapter 11 Cases, including, without limitation, special noticing procedures for providing actual

and constructive notice of such deadlines and procedures to millions of potential holders of

Abuse Claims. Pursuant to the Bar Date Order, the Court established November 16, 2020 at 5:00

p.m. (Eastern Time) as the deadline by which General Proofs of Claim and Sexual Abuse

Survivor Proofs of Claim (as defined in the Bar Date Order and below) must be filed against the

Debtors, and established August 17, 2020, at 5:00 p.m. (Eastern Time) as the Governmental Bar

Date. Further, the Bar Date Order approved a customized proof of claim form (the “Sexual




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Abuse Survivor Proof of Claim”) for holders of Abuse Claims4 to assert any prepetition claim

against the Debtors and/or a Local Council or chartered organization that was attributable to,

arose from, was based upon, related to, or resulted from, in whole or in part, directly, indirectly,

or derivatively, “Sexual Abuse.” The Bar Date Order authorized the Debtors to permit holders

of Abuse Claims to submit Sexual Abuse Survivor Proofs of Claim confidentially and in an

electronic format.

                               PLAN AND DISCLOSURE STATEMENT

         9.      Contemporaneously herewith, the Debtors have filed the Disclosure Statement

and the Plan. The Debtors believe that confirmation of the Plan will maximize value for the

benefit of all stakeholders while fairly and equitably addressing the Debtors’ abuse-related

liabilities.

         10.     As described in more detail in the Disclosure Statement and the Plan, the primary

purpose of the Plan is to (a) provide holders of Abuse Claims with an equitable, streamlined, and

certain process by which they may obtain compensation, by channeling the Abuse Claims

asserted against the Debtors and certain other Protected Parties, including the Local Councils and

the Contributing Chartered Organizations, to a trust (as defined in the Plan, the “Settlement

Trust”) pursuant to section 105(a) of the Bankruptcy Code and (b) allow the Debtors, as

4
    “Abuse Claim” means a liquidated or unliquidated Claim against a Protected Party that is attributable to, arises
    from, is based upon, relates to, or results from, in whole or in part, directly, indirectly, or derivatively, Abuse
    that occurred prior to the Petition Date, including any such Claim that seeks monetary damages or other relief,
    under any theory of law or equity whatsoever, including vicarious liability, respondeat superior, conspiracy,
    fraud, including fraud in the inducement, any negligence-based or employment-based theory, including
    negligent hiring, selection, supervision, retention or misrepresentation, any other theory based on
    misrepresentation, concealment, or unfair practice, public or private nuisance, or any other theory, including
    any theory based on public policy or any act or failure to act by a Protected Party or any other Person for whom
    any Protected Party is alleged to be responsible. Notwithstanding the foregoing, with respect to any
    Contributing Chartered Organization, the term “Abuse Claim” shall be limited to any Claim that is attributable
    to, arises from, is based upon, relates to, or results from, Abuse that occurred prior to the Petition Date and that
    arose in connection with the Contributing Chartered Organization’s sponsorship of one or more Scouting units.
    Abuse Claims include any Future Abuse Claims, any Indirect Abuse Claims, and any Claim that is attributable
    to, arises from, is based upon, relates to, or results from, Abuse regardless of whether, as of the Petition Date,
    such Claim is barred by any applicable statute of limitations.

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Reorganized BSA, to emerge from these Chapter 11 Cases to continue the BSA’s mission.5

Specifically, under the terms of the Plan, Abuse Claims against BSA, the Local Councils, and the

Contributing Chartered Organizations will be permanently channeled by the injunctions provided

for in Article X.F of the Plan (the “Channeling Injunction”) into the Settlement Trust established

under section 105(a) of the Bankruptcy Code.                      The Settlement Trust will have exclusive

responsibility for processing, liquidating, and paying Abuse Claims. Pursuant to the Plan, in

addition to direct claims of abuse against the Debtors, Abuse Claims include, among other

Claims, Direct Abuse Claims,6 Future Abuse Claims,7 and Indirect Abuse Claims8 (such as

claims for contribution, indemnity, reimbursement, or subrogation arising from an Abuse Claim).

        11.       The Plan provides that the Local Councils will make a substantial contribution to

the Settlement Trust, which the Debtors are committed to ensuring is not less than $300,000,000,

to resolve the Abuse Claims that may be asserted against them in exchange for being included as

a Protected Party under the Plan and receiving the benefits of the Channeling Injunction. The

Plan also provides a mechanism by which Chartered Organizations and Settling Insurance


5
    The description of the Plan set forth herein is intended only as a summary. Nothing contained in this summary
    description modifies the Plan, and references should only be made to the Plan itself for the precise terms
    thereof, the terms of which control in the event of any inconsistency between the summary included herein and
    the Plan.
6
    Pursuant to the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.
7
    Pursuant to the Plan, “Future Abuse Claim” means any Direct Abuse Claim against any Protected Party that is
    attributable to, arises from, is based upon, relates to, or results from, in whole or in part, directly, indirectly, or
    derivatively, Abuse that occurred prior to the Petition Date but which, as of the date immediately preceding the
    Petition Date, was held by a Person who, as of such date, (a) had not attained eighteen (18) years of age, or (b)
    was not aware of such Direct Abuse Claim as a result of “repressed memory,” to the extent the concept of
    repressed memory is recognized by the highest appellate court of the state or territory where the claim arose.”
    Notwithstanding the foregoing, with respect to any Contributing Chartered Organization, the term “Future
    Abuse Claim” is limited to any Direct Abuse Claim that arose in connection with the Contributing Chartered
    Organization’s sponsorship of or more Scouting units.
8
    Pursuant to the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution,
    indemnity, reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by
    the applicable non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any
    kind whatsoever, whether in the nature of or sounding in contract, tort, warranty or any other theory of law or
    equity whatsoever, including any indemnification, reimbursement, hold-harmless or other payment obligation
    provided for under any prepetition settlement, insurance policy, program agreement or contract.

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Companies can make substantial contributions to the Settlement Trust in exchange for being

included as a Protected Party under the Plan and receiving the benefits of the Channeling

Injunction.

       12.     The Plan incorporates a settlement among the BSA, JPM (the BSA’s senior

Secured lender), and the Creditors’ Committee, under which JPM has agreed that, in full and

final satisfaction of its Allowed Claims and in exchange for the Creditors’ Committee’s

agreement not to assert certain alleged estate causes of action, it shall enter into the Restated

Debt Documents as of the Effective Date of the Plan. The proposed settlement also provides for

the BSA’s assumption of its prepetition Pension Plan and substantial payments to holders of

Allowed Convenience Claims, Allowed General Unsecured Claims and Allowed Non-Abuse

Litigation Claims.   The settlement is the result of extensive arm’s-length negotiations and

discussions among the BSA, JPM, and the Creditors’ Committee.

       13.     The Debtors are affirmatively seeking to reach further mediated settlements of

disputed issues related to the structure of the Plan, the nature, timing, and amount of

contributions from the Debtors, Local Councils, Contributing Chartered Organizations and

Settling Insurance Companies, and other matters, which may result in the amendment or

modification of the Plan to propose additional settlements pursuant to section 1123(b)(3)(A) of

the Bankruptcy Code and Bankruptcy Rule 9019. The Debtors believe that resolution of these

controversies in advance of the Confirmation Hearing will facilitate the favorable resolution of

these Chapter 11 Cases and maximize Distributions to holders of Allowed Claims, including

Abuse Claims that will be satisfied by the Settlement Trust in accordance with the Trust

Distribution Procedures.

       14.     On the Effective Date, the Settlement Trust will receive the Settlement Trust

Assets. The Settlement Trust Assets will be used to resolve Abuse Claims in accordance with

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the Settlement Trust Documents, including, without limitation, the Trust Agreement and the

Trust Distribution Procedures. It is contemplated that the Trust Distribution Procedures will

establish a methodology for resolution of Abuse Claims, establish the process by which Abuse

Claims will be reviewed by the Settlement Trust, and specify liquidated values for compensable

claims based on the underlying abuse.

        15.      In accordance with section 1126 of the Bankruptcy Code, the Plan classifies all

holders of Claims or Interests into the following Classes for all purposes, including with respect

to voting to accept or reject the Plan. The following chart represents the Classes of Claims and

Interests under the Plan:

Class                Claim                   Status                    Voting Rights
  1           Other Priority Claims       Unimpaired       Presumed to Accept; Not Entitled to Vote
  2           Other Secured Claims        Unimpaired       Presumed to Accept; Not Entitled to Vote
 3A      2010 Credit Facility Claims       Impaired                    Entitled to Vote
 3B             2019 RCF Claims            Impaired                    Entitled to Vote
 4A            2010 Bond Claims            Impaired                    Entitled to Vote
 4B            2012 Bond Claims            Impaired                    Entitled to Vote
  5           Convenience Claims           Impaired                    Entitled to Vote
  6      General Unsecured Claims          Impaired                    Entitled to Vote
  7     Non-Abuse Litigation Claims        Impaired                    Entitled to Vote
  8           Direct Abuse Claims          Impaired                    Entitled to Vote
  9           Indirect Abuse Claims        Impaired                    Entitled to Vote
 10       Interests in Delaware BSA        Impaired         Deemed to Reject; Not Entitled to Vote

        16.      Based on the foregoing (and as discussed in greater detail herein), the Debtors are

proposing to solicit votes to accept or reject the Plan from Holders of Claims in Classes 3A, 3B,

4A, 4B, 5, 6, 7, 8, and 9 (collectively, the “Voting Classes”). The Debtors are not proposing to

solicit votes from holders of Claims or Interests in Classes 1, 2 and 10 (collectively, the “Non-

Voting Classes”). More specifically, the holders of Claims in Classes 1 and 2 are Unimpaired

(the “Unimpaired Classes”) and are therefore presumed to accept the Plan. The holders of

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Interests in Delaware BSA in Class 10 are Impaired and not receiving any distribution under the

Plan, and are therefore deemed to reject the Plan.

                                      BASIS FOR RELIEF

       Approval of Disclosure Statement and Form and Manner of Notice of Hearing
       Thereon

       A.      Approval of the Disclosure Statement

       17.     The Debtors will request approval of the Disclosure Statement at the Disclosure

Statement Hearing. Pursuant to section 1125(b) of the Bankruptcy Code, a plan proponent must

provide holders of impaired claims or equity interests with “adequate information” regarding the

plan. Section 1125(a)(1) of the Bankruptcy Code provides, in relevant part, that:

               “[A]dequate information” means information of a kind, and in
               sufficient detail, as far as is reasonably practicable in light of the
               nature and history of the debtor and the condition of the debtor’s
               books and records, including a discussion of the potential material
               Federal tax consequences of the plan to the debtor, any successor
               to the debtor, and a hypothetical investor typical of the holders of
               claims or interests in the case, that would enable such a
               hypothetical investor of the relevant class to make an informed
               judgment about the plan.

   11 U.S.C. § 1125(a)(1).

       18.     Therefore, the disclosure statement will be approved by a court when it provides

sufficient information to impaired creditors and other interest holders to make informed

decisions about whether to vote to accept or reject a plan of reorganization. See, e.g., GMC

Truck, Inc. v. GMC, 337 F.3d 314, 321 (3d Cir. 2003) (“[A] party seeking chapter 11 bankruptcy

protection has an affirmative duty to provide creditors with a disclosure statement containing

adequate information to enable a creditor to make an informed judgment’ about the Plan.”)

(internal citation omitted); Century Glove, Inc. v. First Am. Bank of N.Y., 860 F.2d 94, 100 (3rd

Cir. 1988) (stating that section 1125 “seeks to guarantee a minimum amount of information to

the creditor asked for its vote”); Cohen v. Tic Fin. Sys. (In re Ampace Corp.), 279 B.R. 145, 157

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n.26 (Bankr. D. Del. 2002) (“Section 1125 governs the contents of a disclosure statement and

provides that acceptance or rejection of a plan may not be solicited until each holder of a claim

or interest receives the plan or a summary thereof, ‘and a written disclosure statement approved,

after notice and a hearing, by the court as containing adequate information.’”); Krystal Cadillac-

Oldsmobile (In re Zenith Elecs. Corp.), 241 B.R. 92, 98 (Bankr. D. Del. 1999) (stating that a

disclosure statement “need only contain adequate information for those entitled to vote”); In re

Civitella, 14 B.R. 151, 152 (Bankr. E.D. Pa. 1981) (“The disclosure statement must contain

adequate information in order for it to be approved by the Court.”).

       19.     Whether a disclosure statement required under section 1125(b) of the Bankruptcy

Code contains adequate information “is not governed by any otherwise applicable

nonbankruptcy law, rule, or regulation.”      11 U.S.C. § 1125(d).      In evaluating whether a

disclosure statement contains “adequate information,” courts have broad discretion based on the

specific facts and circumstances of each case. See, e.g., In re Lisanti Foods, Inc., 329 B.R. 491,

507 (D.N.J. 2005) (“Section 1125 affords the Bankruptcy Court substantial discretion in

considering the adequacy of a disclosure statement.”); In re Worldcom, Inc., No. M-47 (HB),

2003 WL 21498904, at *10 (S.D.N.Y. June 30, 2003) (“The determination of what is adequate

information is subjective and made on a case by case basis. This determination is largely within

the discretion of the bankruptcy court.”); In re Ferguson, 474 B.R. 466, 471 (Bankr. D.S.C.

2012) (“It is within the Court’s discretion to determine whether a disclosure statement contains

adequate information.”); In re Phoenix Petroleum Co., 278 B.R. 385, 393 (Bankr. E.D. Pa. 2001)

(“The general language of the statute and its surrounding legislative history make clear that ‘the

determination of what is adequate information is subjective and made on a case by case basis.

This determination is largely within the discretion of the bankruptcy court.’” (citing In re Tex.

Extrusion Corp., 844 F.2d 1142, 1157 (5th Cir. 1988))).

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        20.      The Disclosure Statement contains sufficient information necessary for holders of

Claims entitled to vote on the Plan to make an informed decision about whether to vote to accept

or reject the Plan, including, among other things:

                 a.       a summary of important proposed dates related to the solicitation and
                          confirmation timeline (Art. I);

                 b.       an introduction to the Plan and voting and confirmation procedures
                          (Art. II);

                 c.       information regarding the Debtors’ nonprofit organization, revenue and
                          assets, capital structure, local councils and chartered organizations,
                          insurance coverage and prepetition coverage actions, and organizational
                          history (Art. III);

                 d.       a summary of events leading to the Chapter 11 Cases, including a
                          description of the prepetition sexual abuse claims against the Debtors and
                          the impact of statutes-of-limitation changes on claims against the BSA and
                          non-debtor stakeholders (Art. IV);

                 e.       a description of the significant events that have occurred during the
                          Chapter 11 Cases (Art. V);

                 f.       an overview of the plan, including a summary of distributions under the
                          Plan, the establishment of the Settlement Trust, and means of
                          implementation (Art. VI);

                 g.       a description of the release, injunction, and exculpation provisions
                          contained in the Plan (Art. VI);9

                 h.       an overview of the Settlement Trust (Art. VI);

                 i.       a summary of solicitation and voting procedures and certain factors to be
                          considered prior to voting on the Plan (Art. VII);

                 j.       a description of confirmation procedures, requirements for confirmation of
                          the Plan, and alternatives to confirmation and consummation of the Plan
                          (Art. VIII);

                 k.       risk factors related to the Plan and the Debtors (Art. IX); and

                 l.       information regarding certain federal income tax consequences of the Plan
                          (Art. X).


9
    Pursuant to Bankruptcy Rule 3016(c), this description is set forth in specific and conspicuous language.

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         21.      Based on the foregoing, the Debtors submit that the Disclosure Statement contains

sufficient information for holders of Claims entitled to vote on the Plan to make an informed

judgment regarding whether to vote to accept or reject the Plan. Accordingly, the Debtors

respectfully request that the Court approve the Disclosure Statement as containing adequate

information in satisfaction of the requirements of section 1125 of the Bankruptcy Code.

         B.       Notice of Release, Exculpation, and Injunction Provisions in the Plan

         22.      Pursuant to Bankruptcy Rule 3016(c), “[i]f a plan provides for an injunction

against conduct not otherwise enjoined under the Code, the plan and disclosure statement [must]

describe in specific and conspicuous language (bold, italic, or underlined text) all acts to be

enjoined and identify the entities that would be subject to the injunction.” Fed. R. Bankr. P.

3016(c).

         23.      Detailed descriptions of the Channeling Injunction that, as of the Effective Date,

will be made applicable to all Abuse Claims against the Protected Parties10 and the releases,

exculpation, and injunction provisions under the Plan are disclosed in Article VI of the

Disclosure Statement. The releases provided under the Plan are described in detail, as are the

entities providing such releases, the entities being released, and the Claims and Causes of Action

so released. Section VI of the Disclosure Statement is set forth in bold, conspicuous print. Such

information is also included in the proposed forms of Ballots for the Voting Classes and the

notices for the Non-Voting Classes.              Accordingly, the Debtors submit that the Disclosure

Statement complies with Bankruptcy Rule 3016(c) by conspicuously describing the conduct and

parties to be enjoined, released, or exculpated by the Plan.

10
     “Protected Parties” means (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the
     Local Councils; (e) the Contributing Chartered Organizations; (f) the Settling Insurance Companies; and (g) all
     of such Persons’ Representatives; provided, however, that no Perpetrator is or shall be a Protected Party.
     Notwithstanding the foregoing, a Contributing Chartered Organization shall be a Protected Party only with
     respect to Abuse Claims that arose in connection with the Contributing Chartered Organization’s sponsorship of
     one or more Scouting units.

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       C.      Disclosure Statement Hearing Notice

       24.     Bankruptcy Rule 3017(a) provides as follows:

               [A]fter a disclosure statement is filed in accordance with
               [Bankruptcy] Rule 3016(b), the court shall hold a hearing on at
               least 28 days’ notice to the debtor, creditors, equity security
               holders and other parties in interest as provided in [Bankruptcy]
               Rule 2002 to consider the disclosure statement and any objections
               or modifications thereto. The plan and the disclosure statement
               shall be mailed with the notice of the hearing only to the debtor,
               any trustee or committee appointed under the [Bankruptcy] Code,
               the Securities and Exchange Commission and any party in interest
               who requests in writing a copy of the statement or plan.

Fed. R. Bankr. P. 3017(a). Bankruptcy Rule 2002(b) requires 28 days’ notice of the time set for

filing objections to and any hearing to consider approval of a disclosure statement. Bankruptcy

Rule 2002(d) requires that equity security holders be given notice of the foregoing in the manner

and the form directed by the Court. Additionally, Local Rule 3017-1(a) requires the plan

proponent to obtain hearing and objection dates from the Bankruptcy Court and to provide notice

of those dates in accordance with Bankruptcy Rule 3017. Del. Bankr. L.R. 3017-1(a).

       25.     Contemporaneously with the filing of this Motion, the Debtors are providing

copies of the Disclosure Statement Hearing Notice, attached hereto as Exhibit B, by electronic

and/or first class mail, to the following parties: (a) all persons or entities that have filed Proofs of

Claim in the Chapter 11 Cases that have not been previously withdrawn or disallowed by a Final

Order, subject to special procedures with respect to holders of Direct Abuse Claims; (b) all

Persons or Entities listed in the Schedules as holding liquidated, non-contingent, and undisputed

Claims; (c) with respect to holders of Direct Abuse Claims who have filed Sexual Abuse

Survivor Proofs of Claim, all counsel of record listed in such Proofs of Claim, and for holders of

Direct Abuse Claims who have not listed counsel of record, direct notice via email or first class

mail; and (d) any other known holders of Claims against, or Interests in, the Debtors.



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       26.     The Debtors are also serving a copy of the Disclosure Statement Hearing Notice,

together with the Disclosure Statement and Plan, on (a) the U.S. Trustee, (b) the Securities and

Exchange Commission (the “SEC”), (c) counsel to the Tort Claimants’ Committee, (d) counsel

to the Creditors’ Committee, (e) counsel to the Future Claimants’ Representative, and (f) those

parties that have requested notice pursuant to Bankruptcy Rule 2002 (the “2002 List”). The

Debtors will provide copies of the Disclosure Statement and Plan to all other parties that request

such documents in the manner specified in the Disclosure Statement Hearing Notice and

Bankruptcy Rule 3017(a). Copies of these documents are also on file with the Clerk of the Court

for review during normal business hours (a fee may be charged) and are available free of charge

at   the   website   maintained    by     the   Solicitation   Agent   (as   defined   below)   at

https://omniagentsolutions.com/BSA.

       27.     To further ensure that creditors receive adequate and fair notice of the Disclosure

Statement and as authorized under Bankruptcy Rule 2002(l), the Debtors will publish the

Disclosure Statement Hearing Notice once in each of The New York Times and USA Today, in

which the Debtors previously published notice of the Bar Dates, and on the Debtors’

restructuring website.

       28.     The Debtors submit that the foregoing procedures provide adequate notice of the

Disclosure Statement Hearing and, accordingly, request that the Court approve such notice as

appropriate and in compliance with the relevant requirements of the Bankruptcy Code,

Bankruptcy Rules, and Local Rules.




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         Approval of Solicitation Procedures11

         29.      The Debtors respectfully request that the Court approve the Solicitation

Procedures and authorize the solicitation and tabulation of votes on the Plan from holders of

Claims entitled to vote on the Plan in accordance with such Solicitation Procedures. While the

Debtors are seeking approval of the Solicitation Procedures in their entirety pursuant to this

Motion, an overview of certain salient features of the Solicitation Procedures is provided below,

including: (a) the proposed contents of the Solicitation Packages (as defined below), (b) the

Solicitation Procedures relating to Abuse Claims, including the distribution of Solicitation

Packages to counsel for represented holders of Direct Abuse Claims and voting by such counsel

on behalf of such claimants, (c) the proposed Voting Deadline, and (d) the Debtors’ proposal to

allow Direct and Indirect Abuse Claims solely for voting purposes in the amount of $1.00 in the

aggregate per claimant.

         A.       Approval of Solicitation Packages

         30.      Section 1126 of the Bankruptcy Code and Bankruptcy Rule 3017(d) require a

plan proponent to mail copies of the plan, the disclosure statement, and a notice regarding the

deadlines for voting on the plan to all creditors and equity security holders of the Debtors.

Consistent with such requirements, the Debtors, acting through the Solicitation Agent, propose to

solicit acceptances of the Plan by disseminating the materials set forth below (collectively, the

“Solicitation Package”) on or before April 29, 2021, or as soon as reasonably practicable

thereafter (the “Solicitation Date”), to the holders of Claims in the Voting Classes.                         The

following materials will constitute the Solicitation Package:



11
     The description of the Solicitation Procedures set forth herein is intended only as a summary. Nothing in this
     summary description modifies the Solicitation Procedures, and reference should only be made to the
     Solicitation Procedures themselves for the precise terms thereof, which terms control in the event of any
     inconsistency between the summary included herein and the Solicitation Procedures.

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                  a.       the Cover Letter describing the contents of the Solicitation Package and
                           instructions to obtain access, free of charge, to the Plan, the Disclosure
                           Statement,     and     the     Solicitation    Procedures     Order    via
                           https://omniagentsolutions.com/bsa-SAballots                            or
                           https://omniagentsolutions.com/bsa-ballots and urging holders of Claims
                           in the Voting Classes to vote to accept the Plan;

                  b.       the Confirmation Hearing Notice;

                  c.       the Disclosure Statement with all exhibits, including the Plan and all
                           exhibits (to the extent such exhibits are filed with the Court before the
                           Solicitation Date) via https://omniagentsolutions.com/bsa-SAballots or
                           https://omniagentsolutions.com/bsa-ballots;

                  d.       the Solicitation Procedures Order, including the Solicitation Procedures
                           and all exhibits;

                  e.       an appropriate form of Ballot with return instructions and a return
                           envelope, as applicable;

                  f.       if a party becomes a co-proponent of the Plan on or before the Solicitation
                           Date, solely for holders of Direct Abuse Claims, a letter from such
                           applicable proponents recommending that holders of Direct Abuse Claims
                           vote to accept the Plan, in the Debtors’ discretion; and

                  g.       any other materials ordered by the Court to be included as part of the
                           Solicitation Package.12

         31.      The Debtors will distribute Solicitation Packages to (a) the U.S. Trustee, (b) the

SEC, (c) counsel to the Tort Claimants’ Committee, (d) counsel to the Creditors’ Committee,

(e) counsel to the Future Claimants’ Representative, (f) the 2002 List, (g) holders of Abuse

Claims, subject to the procedures described below for holders of Direct Abuse Claims that are

represented by counsel, and (h) all other holders of Claims in the Voting Classes (the

“Solicitation Parties”).13


12
     As set forth below, the Debtors are proposing to provide certain of these materials in electronic format via the
     Debtors’       restructuring      website       at       https://omniagentsolutions.com/bsa-SAballots         or
     https://omniagentsolutions.com/bsa-ballots and/or serve Solicitation Packages to certain parties via email.
13
     Notwithstanding anything herein to the contrary, the Debtors are requesting that neither they nor the Solicitation
     Agent be required to mail a Solicitation Package to any Person or Entity from which the notice of this Motion or
     other mailed notice in the Chapter 11 Cases is or has been returned as undeliverable by the postal service, unless
     the Solicitation Agent is provided with an accurate address for such Person or Entity before the Solicitation
     Date. Similarly, to avoid duplication and reduce expenses, the Debtors will make reasonable efforts to ensure

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       32.      The Debtors anticipate that the Solicitation Packages, including the Disclosure

Statement and its exhibits, will be hundreds of pages in length. As discussed in the Disclosure

Statement, more than 100,000 Abuse and Non-Abuse Claims were timely filed against the

Debtors in the Chapter 11 Cases. Due to the significant number of Claims in the Voting Classes

in the Chapter 11 Cases, the administrative costs associated with printing and mailing the

Disclosure Statement to such a voluminous number of creditors are prohibitive. Additionally,

because the COVID-19 pandemic has resulted in the indefinite shutdown of offices across the

country, the Debtors submit that providing an electronic link to certain of the Solicitation

Package documents to holders of Claims in the Voting Classes and providing email service of

the Solicitation Package to certain holders of Direct Abuse Claims as described below will

provide the most effective and efficient means to provide notice to each holder of a Claim. See,

e.g., In re Superior Air Charter, LLC, Case No. 20-11007 (CSS) (Bankr. D. Del. July 20, 2020)

[D.I. 165] (approving procedures for the distribution of the solicitation packages via email, to the

extent possible, due to the COVID-19 pandemic).

       33.      Therefore, the Debtors propose to mail certain documents contained in the

Solicitation Package, including the Cover Letter, the Ballots, and the Confirmation Hearing

Notice, to holders of Claims in the Voting Classes, and such documents will include instructions

for such holders to obtain, free of charge, the Plan, the Disclosure Statement, and the Solicitation

Procedures Order in electronic format via https://omniagentsolutions.com/bsa-SAballots or

https://omniagentsolutions.com/bsa-ballots. Any party that prefers paper or another format of

these documents may contact the Solicitation Agent to obtain these materials at no cost. Other

bankruptcy courts have authorized such relief in order to reduce the significant costs of soliciting

   that any holder of a Claim that has filed duplicative Claims against a Debtor (whether against the same or both
   Debtors) that are classified under the Plan in the same Voting Class receives no more than one Solicitation
   Package (and, therefore, one Ballot) on account of such Claim and with respect to that Class.

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votes to accept or reject a plan under certain circumstances, and have authorized the provision of

electronic copies of the plan and disclosure statement on a website instead of mailing copies of

those documents in the solicitation package.14 In addition to the special solicitation procedures

for holders of Direct Abuse Claims described below, which includes a master balloting process

to attorneys representing holders of Direct Abuse Claims, the Debtors are proposing to cause

Solicitation Packages (including Ballots) to be emailed to unrepresented holders of Direct Abuse

Claims who specifically indicated on their Sexual Abuse Survivor Proofs of Claim that the

Debtors are authorized to communicate with these holders regarding their claims via email.15

See Bar Date Order, Ex. 7.

         34.      The Debtors submit that electronic transmission of solicitation packages to certain

holders of claims who have expressly authorized this form of communication is an efficient and

practical solution in chapter 11 cases with a large number of claimants, and is a particularly

common practice in mass tort cases.               Courts have authorized this procedure under certain

circumstances, such as here, in order to help alleviate the significant costs of soliciting votes to

accept or reject a plan.16 Moreover, any holder of a Direct Abuse Claim that receives the




14
     In re Drone LC, Inc. (f/k/a Lily Robotics, Inc.), Case No. 17-10426 (KJC) (Bankr. D. Del. Aug. 1, 2017) [D.I.
     435] (authorizing the provision of electronic copies of the plan and disclosure statement on a website instead of
     including copies of such documents in the solicitation package); In re Draw Another Circle, LLC, Case No.
     16-11452 (KJC) (Bankr. D. Del. Dec. 19, 2016) [D.I. 1067] (same); In re Dune Energy, Inc., Case No. 15-
     10336 (Bankr. W.D. Tex. Aug. 18, 2015) [D.I. 453] (same); In re Borders Grp., Inc., Case No. 11-10614
     (Bankr. S.D.N.Y. Nov. 14, 2011) (MG) [D.I. 2122] (same).
15
     For the avoidance of doubt, each holder of a Direct Abuse Claim who did not specifically authorize email
     communications on his or her Sexual Abuse Survivor Proof of Claim and who is not represented by counsel
     using the Master Ballot Solicitation Method (as described and defined below) shall only be served a Solicitation
     Package by mail as set forth above.
16
     See, e.g., In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. Mar. 17, 2020) [D.I. 6340]
     (permitting the dissemination of solicitation packages to fire victims in email format); In re TK Holdings Inc.,
     Case No. 17-11375 (BLS) (Bankr. D. Del. Jan. 5, 2018) [D.I. 1639] (approving solicitation materials to be
     distributed via email to holders of personal injury and wrongful death claims); In re Drone LC, Inc. (f/k/a Lily
     Robotics, Inc.), Case No. 17-10426 (KJC) (Bankr. D. Del. Aug. 1, 2017) [D.I. 435] (authorizing the
     transmission of solicitation packages by email to over 60,000 customers entitled to vote).

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Solicitation Package materials via email but prefers to receive such materials by mail instead

may contact the Solicitation Agent to receive a mailed copy instead at no cost to such holder.

       B.      Special Procedures for Direct Abuse Claims

       35.     As fully set forth in the Solicitation Procedures, the Debtors have directed the

Solicitation Agent to serve an Abuse Claim Solicitation Notice, an Abuse Survivor Plan

Solicitation Directive, and Client List (as defined below) on all known attorneys representing

holders of Direct Abuse Claims, as listed on the Sexual Abuse Survivor Proofs of Claim

(collectively, the “Firms”), on or around March 12, 2021.

       36.     The Abuse Claim Solicitation Notice (a) notifies Firms of the options proposed

for soliciting votes on the Plan in respect of their clients’ Direct Abuse Claims and (b) requests

that each Firm return a completed Abuse Survivor Plan Solicitation Directive so that it is actually

received by the Solicitation Agent no later than the Abuse Survivor Plan Solicitation Directive

Deadline (March 31, 2021). An Excel spreadsheet is being distributed on a secure, encrypted

and password-protected USB drive to each Firm that sets forth the name, claim number, month

and year of birth, last four digits of Social Security Number, mailing addresses, and (if known)

email address of each Firm’s clients who have submitted a Sexual Abuse Survivor Proof of

Claim (each, a “Client List”).

       37.     The Abuse Survivor Plan Solicitation Directive permits each Firm to direct the

Solicitation Agent to solicit votes on the Plan from its clients that hold Direct Abuse Claims

(collectively, the “Abuse Survivor Clients”) according to one of the following procedures:

       (a)     Master Ballot Solicitation Method. A Firm may direct the Solicitation Agent to
               serve the Firm with one Solicitation Package and one Master Ballot on which to
               record the votes of all of its Abuse Survivor Clients to accept or reject the Plan
               (the “Master Ballot Solicitation Method”) if the Firm certifies, on or before the
               Abuse Survivor Plan Solicitation Directive Deadline, that (a) the Firm shall
               collect and record the votes of its Abuse Survivor Clients through customary and
               accepted practices, or that it has obtained authority to cast each of its Abuse

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                 Survivor Clients’ votes to accept or reject the Plan (subject in each case to the
                 requirements that the Firm comply with the voting procedures set forth herein and
                 that each Abuse Survivor Client shall have indicated to the Firm his or her
                 informed decision on such vote) or (b) the Firm has the authority under applicable
                 law to vote to accept or reject the Plan on behalf of its Abuse Survivor Clients (a
                 valid power of attorney may be requested by the Debtors, in their discretion). If it
                 is the Firm’s customary and accepted practice to collect and record authorizations
                 or instructions from its Abuse Survivor Clients by email, telephone, or other
                 standard communication methods, the Firm shall be authorized to follow such
                 customary practices to collect and record the votes of its Abuse Survivor Clients.
                 Each Firm that selects the Master Ballot Solicitation Method shall provide the
                 Disclosure Statement, in hard copy, flash drive, or electronic format, to its Abuse
                 Survivor Clients. Any Firm that elects the Master Ballot Solicitation Method
                 must return the Master Ballot to the Solicitation Agent so that it is received by the
                 Voting Deadline.

         (b)     Direct Solicitation Method. A Firm may direct the Solicitation Agent to solicit
                 votes on the Plan directly from each of the Firm’s Abuse Survivor Clients by
                 distributing a Solicitation Package (including a Ballot) directly to each of the
                 Firm’s Abuse Survivor Clients via email addressed to the email address specified
                 on the Firm’s Client List (unless otherwise ordered by the Bankruptcy Court) or,
                 where no email address is specified for an Abuse Survivor Client, via U.S. mail at
                 the street address specified on the Firm’s Client List (the “Direct Solicitation
                 Method”).17 Under the Direct Solicitation Method, each Abuse Survivor Client
                 must return his or her completed Ballot to the Solicitation Agent so that it is
                 received by the Voting Deadline. For the avoidance of doubt, the Debtors will
                 solicit votes to accept or reject the Plan from each holder of a Direct Abuse
                 Claim who cannot be matched to a Firm or who is not included in any Client
                 List to be solicited via the Direct Solicitation Method.

         38.     To facilitate the timely delivery of Solicitation Packages, the Debtors are

requesting that each Firm submit the Abuse Survivor Plan Solicitation Directive to the

Solicitation Agent on or before the Abuse Survivor Plan Solicitation Directive Deadline

(March 31, 2021). If a Firm fails to timely return an Abuse Survivor Plan Solicitation Directive

to the Solicitation Agent or otherwise fails to select a solicitation method, the Firm will be

deemed to have directed the Solicitation Agent to solicit votes on the Plan from its Abuse Clients


17
     For the avoidance of doubt, the Debtors shall only cause a Solicitation Package (including a Ballot) to be
     emailed to holders of Direct Abuse Claims who specifically indicated on their filed Sexual Abuse Survivor
     Proofs of Claim that the Debtors are authorized to communicate with these holders regarding their claims via
     email. Each holder of a Direct Abuse Claim who did not specifically authorize email communications on his or
     her Sexual Abuse Survivor Proof of Claim shall only be served a Solicitation Package by U.S. mail.

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according to the Master Ballot Solicitation Method described above. The Solicitation Agent will

not provide Ballots to any Firm on account of, and votes included on any Master Ballot will not

be counted for, any individuals for which a Direct Abuse Claim was not filed prior to the Abuse

Claims Bar Date.

       39.     The Solicitation Procedures provide that if the Debtors determine, based on their

review of the Sexual Abuse Survivor Proofs of Claim filed on or before the Abuse Claims Bar

Date, that duplicative Sexual Abuse Survivor Proofs of Claim were filed on account of a single

Direct Abuse Claim, the Debtors will distribute a Solicitation Package (including a Ballot or

Master Ballot) only on account of the latest-filed Sexual Abuse Survivor Proof of Claim filed

before the Abuse Claims Bar Date. If duplicative Sexual Abuse Survivor Proofs of Claim were

filed by more than one Firm, the Debtors will list the holder of the relevant Direct Abuse Claim

on only one Client List, which shall be the Client List for the Firm identified on the latest-filed

Sexual Abuse Survivor Proof of Claim filed before the Abuse Claims Bar Date. The same

distribution procedures will apply if the Debtors determine, based on their review of the Sexual

Abuse Survivor Proofs of Claim, that a Sexual Abuse Survivor Proof of Claim was amended and

superseded by a later filed Sexual Abuse Survivor Proof of Claim.

       40.     The Debtors submit that the foregoing procedures will provide for a fair and

efficient process to solicit votes to accept or reject the Plan from the holders of Direct Abuse

Claims. These procedures also reflect the reality of how a large majority of the Direct Abuse

Claims filed against the Debtors have been asserted. While the proposed methods discussed

above are intended to expedite and streamline the transmission of information to holders of

Direct Abuse Claims, increase voter participation, and better ensure such claimants are

empowered to make informed and meaningful decisions as to whether to accept or reject

the Plan, each voting decision rests exclusively with the Abuse Survivor Client.

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         41.      Allowing counsel to vote on the Plan on behalf of their clients—subject to

certification that they otherwise have the right to do so—accurately reflects the way in which a

large majority of applicable Direct Abuse Claims have been asserted against the Debtors (i.e., by

counsel on behalf of individual claimants), and should be approved under the circumstances.

Similar procedures allowing for the submission of votes by attorneys and the use of master

ballots have been approved by Courts in connection with the solicitation of votes of tort

claimants in other chapter 11 cases.18 Accordingly, the Debtors request that the Court approve

the Solicitation Procedures described above with respect to holders of Direct Abuse Claims.

         C.       Approval of the Voting Deadline

         42.      Bankruptcy Rule 3017(c) provides that, “[o]n or before the approval of the

disclosure statement, the court shall fix a time within which holders of claims and interests may

accept or reject the plan.” The Debtors will use their reasonable efforts to distribute, or cause to

be distributed, the Solicitation Packages through the Solicitation Agent no later than April 29,

2021, or as soon as reasonably practicable thereafter. Based on this schedule, the Debtors

propose that the Court set June 28, 2021 (the “Voting Deadline”) as the deadline by which the

Solicitation Agent must actually receive completed Ballots from holders of Claims in the Voting

Classes or their counsel. The Solicitation Procedures provide that, to be counted, completed

Ballots must be returned to and actually received by the Solicitation Agent on or before the




18
     See, e.g., In re Lloyd E. Mitchell, Inc., 373 B.R. 416, 426 (Bankr. D. Md. 2007) (“The use of master ballots in
     mass tort cases is a long-standing procedural mechanism that has been employed almost as a matter of
     course.”); In re Imerys Talc Am., Inc., Case No. 19-10289 (LSS) (Bankr. D. Del. Jan. 27, 2021) [D.I. 2863]
     (approving use of master ballots for attorneys of record for voting the claims of asbestos personal injury
     claimants); In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. Mar. 17, 2020) [D.I. 6340]
     (approving procedures to allow authorized counsel to cast master ballots on behalf of fire victims); In re Insys
     Therapeutics, Inc., Case No. 19-11292 (KG) [D.I. 952] (Bankr. D. Del. Dec. 4, 2019) (authorizing master and
     class ballots for tort claimants); In re Maremont Corp., Case No. 19-10118 (KJC) (Bankr. D. Del. Jan. 23,
     2019) [D.I. 30] (approving use of master ballots for attorneys of record for voting the claims of asbestos
     personal injury claimants).

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Voting Deadline by (1) the electronic Ballot submission platform on the Solicitation Agent’s

website (the “E-Ballot Platform”), (2) mail, (3) overnight delivery, or (4) personal delivery.

         43.        The Debtors request authorization to accept Ballots from voters via the E-Ballot

Platform, which is an online customized balloting portal to be maintained by the Solicitation

Agent. Instructions for casting an electronic Ballot may be found on the Solicitation Agent’s

website        at   https://omniagentsolutions.com/bsa-SAballots              (Direct     Abuse      Claims)      or

https://omniagentsolutions.com/bsa-ballots (all other Claims), and instructions for the

transmission of Ballots via the E-Ballot Platform are set forth on the forms of Ballots. The

encrypted ballot data and audit trail created by each electronic submission on the E-Ballot

Platform will become part of the record of any electronic Ballot submitted in this manner and the

electronic signature will be deemed to be an original signature that is legally valid and effective.

Any Ballot submitted by facsimile transmission or other electronic means except through the E-

Ballot Platform on the Solicitation Agent’s website will not be counted. As the Debtors will

serve the Solicitation Packages on or before April 29, 2021, or as soon as reasonably practicable

thereafter, the proposed Voting Deadline should be approved as it provides holders of Claims in

the Voting Classes sufficient time (approximately 60 days or more) within which to review the

Solicitation Packages, cast votes to accept or reject the Plan, and deliver those votes to the

Solicitation Agent.19




19
     See, e.g., In re Imerys Talc Am., Inc., Case No. 19-10289 (LSS) (Bankr. D. Del. Jan. 27, 2021) [D.I. 2863]
     (asbestos case approving 52 day solicitation period); In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D.
     Cal. Mar. 17, 2020) [D.I. 6340] (mass tort case approving 45 day solicitation period); In re Insys Therapeutics,
     Inc., Case No. 19-11292 (KG) (Bankr. D. Del. Dec. 4, 2019) [D.I. 952] (mass tort case approving 28 day
     solicitation period); In re Diocese of Duluth, Case No. 15-50792 (Bankr. D. Minn. Aug. 27, 2019) [D.I. 400]
     (approving 33 day solicitation period for chapter 11 case addressing sexual abuse claims); In re TK Holdings
     Inc., Case No. 17-11375 (BLS) (Bankr. D. Del. Jan. 5, 2018) [D.I. 1639] (mass tort case approving 28 day
     solicitation period); In re Archdiocese of Milwaukee, Case No. 11-20059 (Bankr. E.D. Wis. Oct. 5, 2015) [D.I.
     3278] (approving 28 day solicitation period for chapter 11 case addressing sexual abuse claims).

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       D.      Temporary Claim Voting Procedures

       44.     The Debtors propose that, solely for the purpose of voting to accept or reject the

Plan and not for purposes of the allowance of, or distribution on account of, a Claim, the

following hierarchy be used to determine the amount of the Claim associated with each

claimant’s vote:

               a.     the Claim amount (i) settled or agreed upon by the Debtors, as
                      memorialized in a document filed with the Bankruptcy Court, (ii) set forth
                      in an order of the Bankruptcy Court or (iii) set forth in a document
                      executed by the Debtors pursuant to authority granted by the Bankruptcy
                      Court;

               b.     if subsection (a) does not apply, the Claim amount allowed (temporarily or
                      otherwise) pursuant to a Resolution Event (as defined below and in
                      Section III.C of the Solicitation Procedures);

               c.     if none of subsections (a)–(b) apply, the Claim amount asserted in a Proof
                      of Claim that has been timely filed (or deemed timely filed by the
                      Bankruptcy Court under applicable law) and filed in good faith (in the
                      reasonable discretion of the Debtors), except for any amounts that have
                      been paid or asserted on account of any interest accrued after the Petition
                      Date; provided, that any Ballot submitted by a holder of a Claim who
                      timely filed a Proof of Claim in respect of (i) a contingent Claim, whether
                      liquidated or unliquidated, or a Claim in a wholly-unliquidated, unknown
                      or undetermined amount (based on a reasonable review by the Debtors)
                      that is not the subject of an objection shall count toward satisfying the
                      numerosity requirement of section 1126(c) of the Bankruptcy Code and
                      shall count as a Ballot for a Claim in the amount of $1.00 solely for the
                      purposes of satisfying the amount requirement of section 1126(c) of the
                      Bankruptcy Code, and (ii) with respect to a non-contingent, partially
                      liquidated and partially unliquidated Claim, such Claim shall be allowed
                      for voting purposes only in the liquidated amount; provided, further, that
                      if the Debtors determine in their reasonable discretion that the Proof of
                      Claim contains any amount that was not asserted in good faith (a
                      “Contested Claim”), the Claim amount listed in the Schedules, if any, shall
                      be used for voting purposes only and to resolve such disagreement, such
                      holder shall be deemed to consent to the amendment of its Proof of Claim
                      to the Claim amount listed in the Schedules, if any, for voting purposes
                      only and no further action shall be required by the Debtors or holder;
                      provided, further, that if the Debtors determine that any Proof of Claim is
                      a Contested Claim (in the Debtors’ reasonable discretion), and the Claim
                      is not listed in the Schedules, the Debtors shall contact the holder of the
                      Contested Claim to consensually agree upon a Claim amount for voting


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                       purposes only, which agreed amount shall not require notice or consent of
                       the Court; provided, further, that if no agreement is reached regarding the
                       amount of the Contested Claim for voting purposes only, the Debtors may
                       file an objection to the Contested Claim and treat such Contested Claim as
                       a Disputed Claim in accordance with Section III.C of the Solicitation
                       Procedures;

               d.      if none of subsections (a)–(c) apply (or in the case of a Contested Claim as
                       specified in subsection (c)), the Claim amount listed in the Schedules (to
                       the extent such Claim has not been superseded by a timely filed Proof of
                       Claim); provided that such Claim is not scheduled as contingent, disputed,
                       or unliquidated and has not been paid; provided, further, that a Claim that
                       is listed in the Schedules as contingent, unliquidated, or disputed and for
                       which a Proof of Claim was not (i) filed by the applicable Bar Date or
                       (ii) deemed timely filed by an order of the Bankruptcy Court prior to the
                       Voting Deadline is not entitled to vote; and

               e.      if none of subsections (a)–(d) apply, such Claim shall be disallowed for
                       voting purposes.

       45.     With respect to Class 7 Claims, all Non-Abuse Litigation Claims asserted against

the Debtors, including any Insured Non-Abuse Claims, which have not been fixed pursuant to a

judgment or settlement entered prior to the Voting Record Date, will be classified as contingent

and unliquidated Claims in accordance with Section V.B of the Solicitation Procedures and will

have a single vote in the amount, for voting purposes only, of $1.00 in the aggregate per

claimant. Substantially all of the approximately 95,000 timely filed Direct Abuse Claims and the

Indirect Abuse Claims are contingent and/or unliquidated. It is not possible to estimate such

Claims for purposes of voting, and the nature and amount of such claims are unknown. The

Debtors propose to temporarily allow Direct and Indirect Abuse Claims for the limited purpose

of voting on the Plan in the amount of $1.00 in the aggregate per claimant. That value will not

be binding on the Plan Proponents, the Settlement Trust, holders of Abuse Claims, or any other

party for any purpose other than voting to accept or reject the Plan.

       46.     Generally, only holders of claims allowed under section 502 of the Bankruptcy

Code are entitled to vote to accept or reject a plan of reorganization. See 11 U.S.C. § 1126(a)


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(“The holder of a claim or interest allowed under section 502 of this title may accept or reject a

plan.”). Claims that are (a) listed on the Schedules as contingent, unliquidated, or disputed,

(b) specified in Proofs of Claim in an unliquidated or zero dollar amount or as contingent or

disputed, or (c) the subject of pending objections are not allowed claims under section 502(a) of

the Bankruptcy Code. However, Bankruptcy Rule 3018(a) provides that the “court after notice

and hearing may temporarily allow [any] claim or interest in an amount which the court deems

proper for the purpose of accepting or rejecting a plan.”

       47.     Both Direct and Indirect Abuse Claims are contingent and unliquidated. The

proposed temporary allowance of Abuse Claims for voting purposes addresses this issue in a way

that adequately considers the particular circumstances of the Chapter 11 Cases and is consistent

with similar chapter 11 cases. Courts in numerous other mass tort and personal injury cases have

allowed claims temporarily for limited purposes, including allowing such claims at $1.00 for

voting purposes, in order to facilitate voting on plans of reorganization and ensure that the votes

of tort victims are adequately represented. See, e.g., In re A.H. Robins Co., Inc., 88 B.R. 742,

747 (E.D. Va. 1988), aff’d, 880 F.2d 694 (4th Cir. 1989) (the placement of a nominal value on

each claim for voting purposes was appropriate as “[a]ny attempt to evaluate each individual

claim for purposes of voting on the Debtor’s Plan of Reorganization would, as a practical matter,

be an act of futility, and would be so time consuming as to impose on many, many deserving

claimants further intolerable delay all not only to their detriment, but to the detriment of the

financial well being of the estate as well”); In re Johns-Manville Corp., 68 B.R. 618, 631 (Bankr.

S.D.N.Y. 1986) (fixing asbestos claims at $1.00 for voting purposes and holding that “[i]t has

been the stated goal of this court and of the parties in interest . . . to ensure the protection and

participation of the interests of the asbestos health victims.        The construct of the voting

procedure is proper as it clearly meets the desideratum of expanded sufferage and participation in

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the reorganization by all parties in interest.”).20 The Debtors submit that these voting procedures

are appropriate and reasonable under the circumstances of the Chapter 11 Cases and should be

approved.

         E.       Approval of Disputed Claim Procedures

         48.      The proposed Solicitation Procedures include procedures for the treatment of

Claims in a Voting Class subject to pending objections or other dispute, as follows:

                  a.       Absent a further order of the Court, the holder of a Claim in a Voting
                           Class that is the subject of a pending “reclassify” or “reduce and allow”
                           objection only to reclassify or reduce the amount of such Claim will be
                           entitled to vote such Claim in the proposed reclassification or in the
                           reduced amount (as applicable) contained in such objection.

                  b.       If a Claim in a Voting Class is subject to an objection other than a
                           “reclassify” or “reduce and allow” objection that is filed with the Court on
                           or before the Solicitation Date, (i) the Debtors will cause the applicable
                           holder to be served with a notice of Disputed Claim (the “Disputed Claim
                           Notice”), substantially in the form attached as Exhibit 6 to the Disclosure
                           Statement Order, and (ii) the applicable holder shall not be entitled to vote
                           to accept or reject the Plan on account of such Claim unless a Resolution
                           Event (as defined below) occurs as provided herein.

                  c.       If a Claim in a Voting Class is subject to an objection other than a
                           “reclassify” or “reduce and allow” objection that is filed with the Court
                           after the Solicitation Date, the applicable Claim shall be deemed
                           temporarily allowed solely for voting purposes to the extent otherwise
                           allowed for voting purposes in accordance with these Solicitation
                           Procedures, without further action by the Debtors or the holder of such
                           Claim and without further order of the Court, unless the Debtors and
                           claimant agree to other treatment for voting purposes or the Bankruptcy
                           Court orders otherwise.

                  d.       If the holder of any Disputed Claim seeks to challenge the disallowance or
                           estimation of its Claim for voting purposes, such holder must file with the
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     See also, e.g., In re PG&E Corp., Case No. 19-30088 (DM) (Bankr. N.D. Cal. Mar. 17, 2020) [D.I. 6340]
     (approving procedures temporarily allowing fire victim claims at $1.00 for voting purposes); In re Roman
     Catholic Bishop of Great Falls, Case No. 17-60271 (Bankr. D. Mont. June 18, 2018) [D.I. 382] (approving
     solicitation procedures temporarily allowing abuse claims at $1.00 for voting purposes); In re TK Holdings Inc.,
     Case No. 17-11375 (BLS) (Bankr. D. Del. Jan. 5, 2018) [D.I. 1639] (approving procedures temporarily
     allowing tort claims relating to Debtors’ defective airbag inflators, whether based on personal injury, wrongful
     death, or economic loss, at $1.00 for voting purposes); In re Catholic Diocese of Wilmington, Inc., Case No. 09-
     13560 (CSS) [D.I. 1317] (Bankr. D. Del. May 20, 2011) (approving procedures temporarily allowing abuse
     personal injury claims at $1.00 for voting purposes).

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                        Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule
                        3018(a), temporarily allowing such claim for purposes of voting to accept
                        or reject the Plan (a “Rule 3018(a) Motion”). Any Rule 3018(a) Motion
                        with the Court and served on the Debtors on or before May 14, 2021. If a
                        holder of a Disputed Claim files a timely Rule 3018(a) Motion, such
                        holder’s Ballot shall not be counted unless a Resolution Event (as defined
                        below) occurs with respect to such Disputed Claim prior to the Voting
                        Resolution Event Deadline of June 21, 2021.

               e.       A “Resolution Event” means, with respect to a Disputed Claim that is the
                        subject of an objection other than a “reclassify” or “reduce and allow”
                        objection, the occurrence of one or more of the following events on or
                        before the Voting Resolution Event Deadline:

                        (i)     an order of the Court is entered allowing such Claim pursuant to
                                section 502(b) of the Bankruptcy Code, after notice and a hearing;

                        (ii)    entry of an order of the Court, after notice and a hearing, granting a
                                Rule 3018(a) Motion and temporarily allowing such Claim for
                                voting purposes in accordance with the procedures set forth above;

                        (iii)   execution of a stipulation or other agreement between the holder of
                                a Disputed Claim and the Debtors (a) resolving the objection and
                                allowing such Claim for voting purposes in an agreed-upon
                                amount or (b) otherwise fixing an amount of the Claim for voting
                                purposes; or

                        (iv)    the pending objection is voluntarily withdrawn by the objecting
                                party.

The Debtors respectfully request this Court authorize the procedures for the resolution of

Disputed Claims, as such procedures are customary and will streamline the solicitation process in

the Chapter 11 Cases.

       F.      Approval of Other Aspects of the Solicitation Procedures

       49.     The Solicitation Agent will tabulate the votes to accept or reject the Plan based on

the Ballots actually received by the Voting Deadline. The Solicitation Procedures specify certain

circumstances in which a vote reflected on a Ballot will not be counted. Those circumstances

include, without limitation: (i) a Ballot submitted by a person who does not hold, or represent a

person that holds, a Claim in the applicable Voting Class as of the Voting Record Date; (ii) a


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Ballot received after the Voting Deadline, unless the Debtors have granted an extension in

writing (including email) with respect to such Ballot; (iii) a Ballot delivered by facsimile

transmission, email, or any other means not specifically listed in the Solicitation Procedures

unless the Debtors have granted an exception in writing (including email) with respect to such

Ballot, provided that Ballots submitted through the E-Ballot Platform will be counted; (iv) a

Ballot that is illegible or contains insufficient information to permit the identification of the

claimant; (v) a Ballot that is submitted in an inappropriate form; (vi) a Ballot sent to a person

other than the Solicitation Agent; (vii) a Ballot that is unsigned;21 and (viii) a Ballot without a

vote on the Plan or in which the claimant has voted to both accept and reject the Plan, including,

without limitation, (a) a Master Ballot on which the attorney fails to make the required

certifications, (b) a Master Ballot that fails to include the required exhibit, or (c) a Master Ballot

that does not provide the last four digits of the claimant’s Social Security Number, if available,

or date of birth.

         50.      The Solicitation Procedures further provide general voting procedures and

standard assumptions the Solicitation Agent will use in tabulating the Ballots. See Solicitation

Procedures § V.D. Among other things, the Solicitation Agent has the discretion, but not the

obligation, to contact voters to cure defects in the Ballots, and the Debtors reserve the right to

waive any defects or irregularities or conditions of delivery as to any particular Ballot. If a

holder of a Claim casts inconsistent Ballots that are received by the Solicitation Agent on the

same day, such Ballots will not be counted. If multiple Ballots are timely received from or on

behalf of a holder of a single Claim, the Solicitation Procedures provide that the last properly

executed Ballot timely received by the Solicitation Agent that satisfies the voting and tabulation


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     For the avoidance of doubt, a Ballot submitted on the E-Ballot Platform will be deemed to contain an original
     signature.

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procedures set forth in the Solicitation Procedures will be the Ballot that is counted, and shall

supersede and revoke any prior Ballot received. If multiple Ballots are received directly from the

holder of a Claim and from a purported attorney or agent for such holder prior to the Voting

Deadline, including a Master Ballot returned on account of Direct Abuse Claims in accordance

with the procedures set forth in Section IV of the Solicitation Procedures, the Ballot received

directly from the holder shall be the Ballot that is counted. A Ballot that partially rejects and

partially accepts the Plan may not be counted.

       51.     With respect to Direct Abuse Claims, if notwithstanding their reasonable efforts

to ensure that only one Solicitation Package (including one Ballot) is distributed on account of

each holder of a Direct Abuse Claim who has filed duplicative claims and/or on account of

Direct Abuse Claims that have been amended and superseded by later filed Direct Abuse Claims,

the Solicitation Agent receives more than one Ballot from or on behalf of the holder of a single

Direct Abuse Claim on or before the Voting Deadline, the effective vote shall be the last Ballot

actually received by the Solicitation Agent before the Voting Deadline that satisfies the voting

and tabulation procedures specified in Section V of the Solicitation Procedures, unless otherwise

agreed to by the Debtors in their sole discretion; provided, however, that to the extent the

Debtors receive a Ballot from a holder of a Direct Abuse Claim entitled to vote and a Ballot from

an attorney purporting to represent such holder (including in accordance with the procedures

related to Master Ballots), the Ballot received from the holder of the Direct Abuse Claim entitled

to vote shall be counted; provided further, that if inconsistent votes are received by the

Solicitation Agent on the same day for a single Direct Abuse Claim, such votes shall not be

counted. For the avoidance of doubt, any Ballot received directly from the holder of a Direct

Abuse Claim shall supersede any Ballot received from an attorney purporting to represent such

holder, and such Ballot received directly from such holder shall be counted.

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       52.     The Debtors submit that the procedures described above and set forth more fully

in the Solicitation Procedures are reasonable under the circumstances of these Chapter 11 Cases

and should be approved.

       Approval of Forms of Ballots

       53.     Bankruptcy Rule 3017(d) requires the Debtors to mail a form of ballot, which

substantially conforms to Official Form 314, to “creditors and interest holders entitled to vote on

the plan.” The Debtors propose to distribute to holders of Claims in the Voting Classes that are

otherwise eligible to vote, Ballots substantially in the forms attached hereto as Exhibits 2-1, 2-2,

2-3, 2-4, 2-5, 2-6, and 2-7. The forms of Ballots are based on Official Form B 314 but have been

modified to address the particular aspects of these Chapter 11 Cases and to include certain

information and instructions relevant to each Voting Class.

       54.     For solicitation and tabulation purposes, one Ballot will be provided to each

holder of a General Unsecured Claim and, for applicable holders of Class 6 Claims, such Ballot

shall include the option to make an irrevocable election to join Class 5 (Convenience Claims)

and be treated as a holder of a Class 5 Claim. If a holder of a Class 6 Claim with a Claim of

$50,000 or less is deemed to join Class 5 (Convenience Claims) or an eligible holder of a Class 6

Claim that is greater than $50,000 makes the voluntary election to join Class 5 (Convenience

Claims), then its Claim shall, upon its allowance for voting purposes only, be counted only in

such Class and shall not be tabulated as a Claim in Class 6 (General Unsecured Claims).

       55.     The Ballots will be distributed to holders of Claims in the Voting Classes or such

holders’ Firms in accordance with the Solicitation Procedures and as set forth herein. The forms

of Ballots are similar in all material respects to those used in other mass tort chapter 11 cases.

Moreover, the Ballots proposed for use in this case contain appropriate certifications to be made

concerning the authority of counsel to vote on behalf of holders of Direct Abuse Claims.

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Accordingly, the Debtors submit that the proposed forms of Ballots substantially comply with

Bankruptcy Rule 3017(d), while taking into account the particular circumstances of the Chapter

11 Cases, and should be approved.

        Approval of Form, Manner, and Scope of Confirmation Hearing Notice

        56.     Bankruptcy Rule 3017(c) provides that “[o]n or before approval of the disclosure

statement, the court shall fix a time within which the holders of claims and interests may accept

or reject the plan and may fix a date for the hearing on confirmation.” In accordance with

Bankruptcy Rule 3017(c), and in light of the Debtors’ proposed solicitation schedule outlined

below, the Debtors propose that July 26, 2021 at 10:00 a.m. (Eastern Time), or the nearest date

thereafter that is convenient for the Court, be fixed by the Court as the date for the Confirmation

Hearing. Such date will provide the Debtors sufficient time to solicit votes on the Plan in

accordance with the Solicitation Procedures and to notify the required parties of the

Confirmation Hearing and the opportunity to submit objections to the Plan, if any, before the

Confirmation Hearing. The Debtors also request that the Court order that the Confirmation

Hearing may be continued from time to time by the Debtors without further notice to creditors or

any other parties in interest.

        A.      Confirmation Hearing Notice

        57.     Bankruptcy Rule 3017(d) requires a plan proponent to send to all creditors and

interest holders a notice regarding the deadlines for voting on the plan. Bankruptcy Rule 2002(b)

requires 28 days’ notice of any hearing to consider confirmation of a plan of reorganization.

Bankruptcy Rule 3020(b)(1) further provides that objections to confirmation of a plan must be

filed and served “within a time fixed by the court.” Fed. R. Bankr. P. 3020(b)(1). In accordance

with these Bankruptcy Rules, the Confirmation Hearing Notice will include: (a) instructions as to

how to electronically view or obtain copies of the Disclosure Statement (including the Plan and

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other exhibits thereto), the Solicitation Procedures Order, and all other materials in the

Solicitation Package (excluding the Ballots) from the Solicitation Agent and/or the Court’s

website via PACER; (b) the date and time fixed for submitting votes on the Plan; (c) notice of

the Voting Deadline; (d) notice of the Plan Objection Deadline; (e) notice of the Plan

Supplement Deadline; and (f) the Confirmation Hearing. As noted above, the Solicitation

Packages will include the Confirmation Hearing Notice and will be distributed on or before April

29, 2021. Thus, parties will have well in excess of the required 28 days’ notice of the proposed

Confirmation Hearing date and Plan Objection Deadline (as defined below) required by

Bankruptcy Rule 2002(b). Accordingly, the Confirmation Hearing Notice should be considered

adequate notice under Bankruptcy Rules 2002 and 3017(d).

       B.      Publication Notice

       58.     The Debtors further seek permission pursuant to Bankruptcy Rule 2002(l) to

supplement the foregoing notice procedures by publishing notice of the Debtors’ solicitation of

votes on the Plan and the Confirmation Hearing. Bankruptcy Rule 2002(l) permits the Court to

order “notice by publication if it finds that notice by mail is impracticable or that it is desirable to

supplement the notice.” Bankruptcy Rule 9008 further provides that the Court may “determine

the form and manner” of publication notice. To supplement the Confirmation Hearing Notice,

the Debtors plan to cause the Publication Notice to be published in The New York Times, USA

Today, The Chicago Tribune, the Plain Dealer, The Dallas Morning News, The Los Angeles

Times, The San Jose Mercury News, and The Tampa Bay Times. The Debtors submit that the

content of the Publication Notice and breadth of its distribution provides adequate notice of the




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Confirmation Hearing, the Plan Objection Deadline, and the Voting Deadline to all potential

creditors.22

         C.       Notices of Non-Voting Status

         59.      Bankruptcy Rule 3017(d) permits a bankruptcy court to waive the requirement

that a debtor’s plan and disclosure statement be mailed to unimpaired classes. In lieu thereof, a

bankruptcy court may order that “notice that the class is designated in the plan as unimpaired and

notice of the name and address of the person from whom the plan or summary of the plan and

disclosure statement may be obtained upon request,” as well as “notice of the time fixed for

filing objections to and the hearing on confirmation” be mailed to such classes. Fed. R. Bankr.

P. 3017(d). As discussed above, the Non-Voting Classes are not entitled to vote on the Plan. As

a result, they will not receive Solicitation Packages. In lieu of solicitation materials, the Debtors

propose to provide the following to holders of Claims and Interests in the Non-Voting Classes:

                  a.      Unimpaired Classes—Conclusively Presumed to Accept. Holders of
                          Claims in Classes 1 and 2 are Unimpaired under the Plan and, therefore,
                          are presumed to have accepted the Plan. Accordingly, the Debtors
                          propose to send the Non-Voting Status Notice, substantially in the form
                          attached to the Solicitation Procedures Order as Exhibit 5, to each holder
                          of a Claim in the Unimpaired Classes.

                  b.      Unclassified Claims. The Debtors also propose to send the Non-Voting
                          Status Notice to each holder of an Administrative Expense Claim and
                          Priority Tax Claim, which are unclassified under the Plan (collectively, the
                          “Unclassified Claims”).

                  c.      Disputed Claims. Holders of Claims that are subject to a pending
                          objection by the Debtors as of the Solicitation Date are not entitled to vote
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     The Debtors also note the significant press coverage that these Chapter 11 Cases have garnered, which has
     educated potential creditors about the bankruptcy case. As of November 2020, the Chapter 11 Cases had
     generated at least 10,152 news articles, at least 38,922 broadcast mentions on television, and over 99,759
     mentions on social media. Top tier media outlets that have run stories have included The New York Times, The
     Wall Street Journal, USA Today, Axios, The Washington Post, NPR, Bloomberg, Reuters, NBC News, CNN, and
     the Associated Press. See Declaration of Shannon R. Wheatman, Ph.D Regarding Implementation of
     Supplemental Notice Plan to Provide Notice of Bar Date to Abuse Survivors ¶ 9 [D.I. 1758] (“Wheatman
     Decl.”). The Chapter 11 Cases have also spurred a significant amount of private attorney advertising, with at
     least 24,645 attorney advertising spots arising on broadcast television alone from June to October 2020 and
     excluding cable television advertising. Id. ¶ 10.

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                      the disputed portion of their Claim. As such, the Debtors propose to send
                      the Disputed Claim Notice, substantially in the form attached to the
                      Solicitation Procedures Order as Exhibit 6, to each such holder.

       60.     With respect to Class 10 holders of Interests in Delaware BSA, the Debtors are

requesting authority to waive any requirement to serve such holders with a Solicitation Package

or any other type of notice in connection with solicitation of the Plan. Interests in Delaware BSA

will be deemed canceled on the Effective Date and holders of such Interests are deemed to reject

the Plan. In light of the fact that Interests in Delaware BSA are held only by Debtor BSA, the

Debtors are requesting a waiver from any requirement to serve such Class 10 holder.

       61.     The Non-Voting Status Notice and Disputed Claim Notice will include, among

other things: (a) instructions regarding how to obtain access, free of charge, to the Plan and the

Disclosure Statement via https://omniagentsolutions.com/BSA or the Court’s website via

PACER, (b) a disclosure regarding the settlement, release, exculpation, and injunction language

set forth in Article X of the Plan, (c) notice of the Plan Objection Deadline, (d) notice of the

Confirmation Hearing date, and (e) information related thereto. The Debtors believe that the

mailing of the Non-Voting Status Notice and Disputed Claim Notice in lieu of Solicitation

Packages satisfies the requirements of Bankruptcy Rule 3017(d). Accordingly, unless the Court

orders otherwise, the Debtors do not intend to distribute Solicitation Packages to holders of

Claims and Interests in the Non-Voting Classes.

       D.      Plan Supplement Notice

       62.     The Plan defines “Plan Supplement” to mean the compilation of documents and

forms of documents, agreements, schedules, exhibits, and annexes to the Plan, which the Debtors

shall file no later than fourteen (14) days before the earlier of the Voting Deadline and the Plan

Objection Deadline, unless otherwise ordered by the Court, and additional documents filed with




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the Court before the Effective Date as amendments, modifications or supplements to the Plan

Supplement.

       63.     The Plan Supplement will include the following materials, among others (each as

defined in the Plan): (a) the Amended BSA Bylaws; (b) the Assumed Contracts and Unexpired

Leases Schedule; (c) the Cooperation Agreement; (c) the name of the Creditor Representative;

(d) changes, if any, to Reorganized BSA’s directors and officers; (e) the form of the Foundation

Loan Agreement; (f) the form of agreement reflecting the terms of the Leaseback Requirement;

(g); the Rejected Contracts and Unexpired Leases Schedule; (h) the forms of the Restated 2010

Bond Documents; (i) the forms of the Restated 2012 Bond Documents; (j) the forms of the

Restated Credit Facility Documents; (k) the form of the Restated Security Agreement; (l) the

names of the initial members of the Settlement Trust Advisory Committee; (m) the form of

Settlement Trust Agreement; (n) the name of the initial Settlement Trustee; and (o) the Trust

Distribution Procedures; provided that the Plan Documents listed in clauses (b) and (g) of the

foregoing sentence will be revised, in the Debtors’ discretion, subject to Article VI of the Plan, to

account for any additional Executory Contracts or Unexpired Leases to be assumed or rejected in

advance of the Confirmation Hearing.

       64.     To ensure that all parties on the 2002 List receive notice of the Debtors’ filing of

the Plan Supplement, the Debtors propose to send the Plan Supplement Notice, substantially in

the form attached to the Solicitation Procedures Order as Exhibit 8, on the date the Debtors file

the Plan Supplement, or as soon as practicable thereafter. Because of the voluminous nature of

the Plan Supplement, the Debtors will not physically serve the Plan Supplement and its exhibits.

A copy will be available for review on the Debtors’ restructuring website at

https://omniagentsolutions.com/BSA. Notwithstanding the foregoing, the Debtors are requesting



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that they be permitted to amend the documents contained in, and exhibits to, the Plan

Supplement through the Effective Date solely in accordance with the Plan.

       E.      Notices to Executory Contract and Unexpired Lease Counterparties

       65.     The Plan provides that, except as otherwise provided for in the Plan, each of the

Debtors’ Executory Contracts and Unexpired Leases shall be deemed assumed by Reorganized

BSA, except for Executory Contracts or Unexpired Leases: (a) that are identified on the Rejected

Contracts and Unexpired Leases Schedule; (b) that previously expired or terminated pursuant to

their terms; (c) that the Debtors have previously assumed or rejected pursuant to a Final Order of

the Bankruptcy Court; (d) that are the subject of a motion to reject that remains pending as of the

Effective Date; (e) as to which the effective date of rejection will occur (or is requested by the

Debtors to occur) after the Effective Date; or (f) as to which the Debtors or Reorganized BSA, as

applicable, determine, in the exercise of their reasonable business judgment, that the Cure

Amount, as determined by a Final Order or as otherwise finally resolved, would render

assumption of such Executory Contract or Unexpired Lease unfavorable to Debtors or

Reorganized BSA. See Plan § VI.A. Additionally, pursuant to Article VI.C of the Plan, the

Debtors will file the Assumed Contracts and Unexpired Leases Schedule with the Plan

Supplement and will cause the Cure and Assumption Notice to be served by mail on affected

counterparties listed on the Assumed Contracts and Unexpired Leases Schedule on or before

such filing, substantially in the form attached to the Solicitation Procedures Order as Exhibit 9.

       66.     In addition, the Debtors propose to file the Rejected Contracts and Unexpired

Leases Schedule as part of the Plan Supplement. To ensure that each counterparty to a rejected

Executory Contract or Unexpired Lease receives notice of the Debtors’ rejection, the Debtors

propose to mail the Rejection Notice, substantially in the form attached to the Solicitation




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Procedures Order as Exhibit 10, to the affected counterparties listed on the Rejected Contracts

and Unexpired Leases Schedule.

       67.     Accordingly, the Court should approve the form and scope of the Confirmation

Notices discussed herein, as well as the manner of providing such notices, pursuant to

Bankruptcy Rules 2002 and 9008.

       68.     The Debtors also request authorization to make non-substantive changes to the

Plan and Disclosure Statement, the Confirmation Hearing Notice, the Solicitation Packages,

Ballots, Publication Notice, Cover Letter, Solicitation Procedures, Confirmation Notices, and

related documents without further order of the Court, including changes to correct typographical

and grammatical errors, if any, and to make conforming changes to the Plan and Disclosure

Statement, and any other materials in the Solicitation Packages before distribution.

                                            NOTICE

       69.     Notice of this Motion will be provided to (i) the U.S. Trustee; (ii) counsel to the

Tort Claimants’ Committee; (iii) counsel to the Creditors’ Committee; (iv) counsel to the Future

Claimants’ Representative; (v) counsel to the Ad Hoc Committee of Local Councils; (vi) counsel

to JPMorgan Chase Bank National Association; (vii) the County Commission of Fayette County

(West Virginia), as issuer of those certain Commercial Development Revenue Bonds (Arrow

WV Project), Series 2010A, 2010B and 2012; and (viii) any party that has requested notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested herein, no other or further notice need be given.

                                        CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court enter the Solicitation

Procedures Order, substantially in the form attached hereto as Exhibit A, granting the relief



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requested in this Motion and such other and any further relief as the Court may deem just and

proper.

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